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                         IN THE UNITED STATES DISTRICT COURT
                            WESTERN DISTRICT OF ARKANSAS
                                 TEXARKANA DIVISION

QUARTAVIS DEMONTEZ MULDREW                                                                 PLAINTIFF

v.                                     Case No. 4:24-cv-4085

DETECTIVE JIMMY COURTNEY                                                              DEFENDANT

                                              ORDER

       Before the Court is a Report and Recommendation issued by the Honorable Barry A.

Bryant, United States Magistrate Judge for the Western District of Arkansas. ECF No. 17. Upon

preservice screening of Plaintiff’s Second Amended Complaint (ECF No. 14) pursuant to 28

U.S.C. § 1915A, Judge Bryant recommends that the Second Amended Complaint be dismissed

without prejudice for failure to state a claim. Judge Bryant further recommends that the Clerk be

directed to place a § 1915(g) strike flag on the case for future judicial consideration.

       Plaintiff has not objected to the R&R, and the time to do so has passed. See 28 U.S.C. §

636(b)(1). Upon review, finding no clear error on the face of the record and that Judge Bryant’s

reasoning is sound, the Court adopts the R&R (ECF No. 17) in toto. Plaintiff’s Second Amended

Complaint (ECF No. 14) is hereby DISMISSED WITHOUT PREJUDICE. The Clerk is hereby

directed to place a § 1915(g) strike flag on the case for future judicial consideration.

       IT IS SO ORDERED, this 14th day of February, 2025.

                                                              /s/ Susan O. Hickey
                                                              Susan O. Hickey
                                                              Chief United States District Judge
